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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

    ERIC NULL,

           Plaintiff,
                                                      Case No. 8:17-cv-02959-EAK-AAS
    v.

    HEALTH NET FEDERAL SERVICES,
    LLC,

          Defendants.
    ____________________________________/


                    JOINT STIPULATION SELECTING MEDIATOR

          Plaintiff, ERIC NULL, and Defendant, HEALTH NET FEDERAL SERVICES,

   LLC, by and through their undersigned counsel, jointly file this Joint Stipulation Selecting

   Mediator pursuant to this Court’s Case Management and Scheduling Order dated January

   29, 2018 [Dkt.15] and respectfully request to mediate this matter before Mark A. Hanley

   of Bradley Arant Boult Cummings LLP, 100 North Tampa Street, Suite 2200, Tampa, FL

   33602. The parties will select a mediation date in accordance with this Court’s Case

   Management and Scheduling Order.


   DATED this 29th day of March, 2018

   Respectfully Submitted,

    By:    /s/April S. Goodwin                     By:    /s/ Gail Golman Holtzman
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